U.S. De partme nt of Jus tice                                                                                   PROCESS RECEIPT AND RETURN
United States Marshals Service                                                                                 See "Ins/rue/ions for Service of Process bv US Marshal"

 PLAINTH'F                                                                                                                  COURT CASE NUMBER
 Shannon D. Wren                                                                                                            23-3091-JWB-GEB
 DEFENDANT                                                                                                                  TYPE OF PROCESS
 (fnu) (lnu), Highway Patrol Sergeant, et al.                                                                               Summons/Order/Complaint
                            NAME OF INDIVIDUAL, COMPAN Y, CORPORATION, ETC. TO SERVE OR DESCRIPTION OF PROPERTY TO SEIZE OR CONDEMN
       SER VE                (fnu) (lnu), Highway Patrol Sergeant, c/o Kansas Attorney General
           AT         {
                           ADDRESS (Street or RFD. Apart111e111 No .. City. State and ZIP Code)
                             120 SW 10th Avenue, 2nd Floor, Topeka, KS 66612
SEND NOTICE OF SERVICE COPY TO REQUESTER AT NAME AND ADDRESS BELOW                                                          Number of process to be
- - - - - - - - - - - - - - - - - - - - - - - -- ----------------l                                                          served with this Form 285               3
                            Shannon D. Wren                                                                                 Number of parties to be
                            Jackson County Jail                                                                             served in this case
                            210 US Hwy 75                                                                                   Check for service
                            Holton, KS 66436                                                                                on U.S.A.
SPECIAL INSTRUCTIONS OR OTHER INFORMATION THAT WILL ASSIST IN EXPEDITING SERVICE (Include Business and Alternate Addresses,
All Telephone Numbers, 1111d Estimated Times Availablefor Service):




Signature of Attorney other Originator requesting service on behalf of:                                        TELEPHONE NUMBER                  DATE
                                                                                  ~ PLA INTI FF
           s/ SKYLER B. O'HARA                                                    0     DEFENDANT
                                                                                                               785-338-5400                      4/11/2023
                          SPACE BELO W FO R USE                    or U.S. MARSHAL ONLY - DO NOT W RITE BELOW T HIS LI NE
I acknowledge receipt for the total      Total Process        District of     District to                                                                  Date
number of process indicated.
                                                          Orig;\     .(1 i    Serv;....     \
(Sign only for USM 285 if more
than one USM 285 is submiued)                             No.{Dl_             No   Ci3J_2

I hereby certify and return that I O have personally served , 0 have legal evidence of servic X have e, ecuted as sl;own in "Remarks" , the process described on the
individual, company, corporation, etc., at the address shown above on the on the individual, company, corporation, etc. shown at the address inserted below.
0   I hereby certify and return that I am unable to locate the individual, company, corporation, ftc. named above (See remarks below)
Name and title of individual served (if11ot sho\1'11 abore)                                                                 Date                 Time                    0        am
                                                                                                                              04.18.23                                   D


                                                                                                                              rc-1~~
                                                                                                                                                                                  pm
Address (complete only differem than shown abo,·e)                                                                         Signature of U.S. Marshal or Deputy




                                                                       Costs shown 011 at1acl11:d USMS Cost Slteer >>
REMARKS


                                                                                                                                                                            C
                                                                                                                                                           §                ?!:
                                                                                                                                                                            ,,,
                                                                                                                                                                            -I
                                                                                                                                                   -f     ::i:,.
                                                                                                                                                          -0                0
                                                                                                                                                  0
                                                                                                                                                  -0      ~          ,.,.,,...,
                                                                                                                                                                     :::0(1>
                                                                                                                                                  rl"J
                                                                                                                                                  ~                  _,.,.,
                                                                                                                                                                     C-,}>
                                                                                                                                                                     IT!-1
                                                                                                                                                 .l>     ::x:,,.
                                                                                                                                                         :x
                                                                                                                                                                     <<1>
                                                                                                                                                                     ,.,,:t
                                                                                                                                                 ~                  o :>
                                                                                                                                                 V>
                                                                                                                                                         w              ~
                                                                                                                                                                        CJ)
                                                                                                                                                         .r-            :c
                                                                                                                                                         °'             ):>,
                                                                                                                                                                        r
                                                                                                                                                                   Form USM-285
                                                                                                                                                                       Rev. 03/2 1
AO 440 (Rev. 06/12) Summons in a Civil Action


                                       UNITED STATES DISTRICT COURT
                                                                    for the
                                                             District of Kansas

                                                                      )
                                                                      )
                                                                      )
                      Shannon D. Wren
                                                                      )
                            Plainti.ff(s)
                                                                      )
                                                                      )
                                 V.                                           Civil Action No. 23-3091-JWB-GEB
                                                                      )
                                                                      )
                                                                      )
       (fnu) (lnu), Highway Patrol Sergeant, et al.                   )
                                                                      )
                           Defendant(s)                               )

                                                     SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) (fnu) (lnu), Highway Patrol Sergeant
                                            c/o Kansas Attorney General
                                            120 SW 10th Avenue, 2nd Floor
                                            Topeka, KS 66612




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it)- or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3)-you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:
                                             Shannon D. Wren
                                             Jackson County Jail
                                             210 US Hwy 75
                                             Holton, KS 66436


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                  CLERK OF COURT


Date: - - -04/11/2023                                                                            s/S. Nielsen-Davis
           -------
                                                                                            Signature ofClerk or Deputy Clerk
                                                                                  SKYLER B. O'HARA
                                                                                  CLERK OF COURT
                                                                                  490 U.S. Courthouse
                                                                                  444 SE Quincy
                                                                                  Topeka KS 66683-3589
AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 23-3091-JWB-GEB

                                                       PROOF OF SERVICE
                       (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (1))

           This summons for (name of individual and title, ifany)
was received by me on (date)

           □   I personally served the summons on the individual at (place)
                                                                                 on (date)                            ; or

           □   I left the summons at the individual's residence or usual place of abode with (name)
                                                                  , a person of suitable age and discretion who resides there,
          -----------------
           on (date)                               , and mailed a copy to the individual's last known address; or

           0 I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name oforganization)
                                                                                 on (date)                            ; or

           □   I returned the summons unexecuted because                                                                            ; or

           0 Other (specify):




           My fees are$                            for travel and $                   for services, for a total of$          0.00


           I declare under penalty of perjury that this information is true.



 Date:
                                                                                             Server's signature



                                                                                         Printed name and title




                                                                                             Server's address


Additional information regarding attempted service, etc:
                                                                                          First-Class Mall
                                                                                        Postage & Fees Paid
                                                                                                USPS

: 111111111iliiiiitifflii,i1m1111H1 . II II II
                                                                                             Permit No.G-10


               9490 9169 0224 6689 9054 33


I      UNITED STATES
       POSTAL SERVICE
Ig
    !!!.
. =i

    .-t
·~


. ,G
                              US Marshals Service
;'.§                          District of Kansas
:n
....                          444 Southwest Quincy, Suite 456
I ;:
,111                  •    :: Tor,i::a"a•Kff
                              :"  N''l' :    .a~fi,::iP, ...... . .......... ·:·:
                                             U:-t M .i.!iii.i.i                   ::
                                                                             J!h:l.    :=.
                                   ;mmm-,HJhi 11       'il;'1l"'i1Wi"l'JH"1Jl1i·l 1
:i
;!
                          ;H1i1:
SENDER: COMPLETE THIS SECTION                              COMPLETE THIS SECTION ON DELIVERY
                                                           A. Signature: ( □ Addresses or □ Agent)
■   Ensure items 1, 2, and 3 are completed.
■   Attach this card to the back of the mailpiece, or on   X
    the front If space permits.
                                                           B. Received By: (Printed Name)            C. Date of Delivery

                                                                                    \'-l~(,
1                                                          D.ls delivery ad<fi\,. s ~ifferentfrom item 1?     □ Yes
    ·~    el!"'AfROL SERGEANT                                If YES, enter delivery address below:            D No
                                                                                                            e~'<>
     C/O Kansas Attorney General                                                                    ~ 0
     120 Sw 10th Ave Fl 2                                                     t       ! o~'<'e"l ~
     Topeka KS 66612-1237                                                ~ s'<>s -o                 g:
                                                                          '"t;        ;u        ::Ou,
                                                                          ,.,.,
                                                                          ~
                                                                                     N
                                                                                     .r:--
                                                                                               ~>
                                                                                               ~-i

                                                           3. Service Typ1'          J:»
                                                                         X          :X
 11111111111111111I lll1111111111111111111111 111                QI Ce ~d Mail~
                                                                                     ..
                  9490 9169 0224 6689 9054 33




PS Form 3811 Facsimile, July 2015 (SDC 3930)                                                       Domestic Return Receipt
